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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                          UNITED STATES DISTRICT COURT                          February 23, 2023
                       FOR THE SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk
                                HOUSTON DIVISION

BRYON PARFFREY,                                  §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §
                                                 §
PHH MORTGAGE CORPORATION,                        §
                                                 §
               Defendant.                        §
                                                 §
_____________________________________            §   CIVIL ACTION NO. 4:21-cv-03151
PHH MORTGAGE CORPORATION,                        §
                                                 §
               Defendant/Counter-Plaintiff       §
               and Third Party Plaintiff,        §
                                                 §
v.                                               §
                                                 §
ANGELINE PARFFREY,                               §
                                                 §
                Third Party Defendant,           §
                                                 §
And BRYON PARFFREY,                              §
                                                 §
               Plaintiff/Counter-Defendant.      §

        ORDER GRANTING JOINT MOTION TO EXECUTE ORDER OF SALE

       CAME ON TO BE CONSIDERED in the above-referenced matter, the Joint Motion to

Execute Order of Sale Pursuant to Agreed Final Judgment (the “Motion”) filed by Bryon

Parffrey, Angeline Parffrey, and PHH Mortgage Corporation. Upon consideration, the Court is

of the opinion that the Motion is well-taken and should be granted.

       It is THEREFORE ORDERED that the Motion is GRANTED.




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 The Court will execute the Order of Sale submitted with the Motion as Exhibit 1.

 Signed this 23rd day of February, 2023.

                                               ________________________________
                                               UNITED STATES DISTRICT JUDGE




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